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                                             Saturday, October 19, 2019 at 7:01:58 PM Eastern Daylight Time

 Subject: Re: Request
 Date: Tuesday, October 15, 2019 at 4:26:20 PM Eastern Daylight Time
 From: Jeﬀ Gould
 To:      Buchanan, Tom
 CC:      ScoI Zebrak, MaI Oppenheim, Golinveaux, Jennifer A., Elkin, Michael S., Andrew Guerra

Tom – As you know, there is a strong preference for live tesTmony and trials should eﬃcient.
Witnesses that appear live should do so once and the full scope of their examinaTons and cross
examinaTons should occur at that Tme, regardless of which party calls that witness and without the
need for addiTonal designaTons. Judge O’Grady has discreTon and authority to control the
presentaTon of this trial and we believe he will favor an eﬃcient trial, not the disjointed one that Cox
seems to envision.

You seem to acknowledge that both Carothers and Beck will tesTfy live and are open to PlainTﬀs
examining one but not both in their aﬃrmaTve case. You have not provided any jusTﬁcaTon for
handling them diﬀerently. PlainTﬀs plan to present both Carothers and Beck in their case in chief and
the jury should hear them live, rather than by video in our case and then live in Cox’s.

Sikes and Zabek are key witnesses that Cox controls and the same principles apply. If they are not
available live in our case, they should not be permiIed to tesTfy live in Cox’s case. Nor should Cox be
permiIed to present either witness aﬃrmaTvely by deposiTon when it controls both witnesses and
could bring them to trial. (This is also true for other witnesses Cox controls.) We will move in limine
accordingly.

We can agree to forego aﬃrmaTve designaTons for the above witnesses in the event we can examine
them live in our case. We reserve the right to use their deposiTons for any other proper purpose (i.e.
impeachment etc).
Please let me know promptly if we can resolve these issues as to Carothers, Beck, Sikes, Zabek or
scope of examinaTons for witnesses who appear live.

Regards,
Jeﬀ

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From: "Buchanan, Tom" <TBuchana@winston.com>
Date: Tuesday, September 17, 2019 at 3:41 PM
To: Jeff Gould <Jeff@oandzlaw.com>
Cc: Scott Zebrak <Scott@oandzlaw.com>, Matt Oppenheim <Matt@oandzlaw.com>, "Golinveaux,
Jennifer A." <JGolinveaux@winston.com>, "Elkin, Michael S." <MElkin@winston.com>
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Jeﬀ, as you know, Cox has no legal obligaTon to deliver its witnesses for your case in

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chief. While this might work for PlainTﬀs, it is not advantageous to Cox to have to put
on an important part of its case during your case in chief. It also can be confusing to
the jury.

That being said, in order to avoid bringing yet another a seemingly unnecessary
dispute before the court, we are willing to consider producing one of our witnesses
during your case in chief, if you can explain to us why you cannot use their deposiTon
tesTmony as would normally be the case. Moreover, even if we agree to do so, we will
not agree that you can also use that witness’s deposiTon in your case in chief. You will
have to choose between relying on their deposiTon tesTmony or relying on their live
tesTmony. Obviously, if you elect live tesTmony, you can use deposiTons or any other
appropriate means to the extent that impeachment is proper. The most appropriate of
the candidates you idenTﬁed would be either Beck or Carothers.

As to Sikes and Zabek, we have not made a decision to call them, so we are not
agreeable to producing them in your case in chief.

As to other Cox employees you idenTﬁed, we will not agree that you can cross them
beyond their direct tesTmony. There is absolutely no precedent or authority for such a
process.



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